                          Case 16-33433 Document 1 Filed in TXSB on 07/06/16 Page 1 of 11

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Rotary Drilling Tools USA, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  9022 Vincik Ehlert Road
                                  Beasley, TX 77417
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fort Bend                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                           Case 16-33433 Document 1 Filed in TXSB on 07/06/16 Page 2 of 11
Debtor    Rotary Drilling Tools USA, LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3312

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                            Case 16-33433 Document 1 Filed in TXSB on 07/06/16 Page 3 of 11
Debtor   Rotary Drilling Tools USA, LLC                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Case 16-33433 Document 1 Filed in TXSB on 07/06/16 Page 4 of 11
                          Case 16-33433 Document 1 Filed in TXSB on 07/06/16 Page 5 of 11
Debtor     Rotary Drilling Tools USA, LLC                                                   Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                   Chapter     11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Pipe Coatings International LLC                                         Relationship to you               Affiliate
District   Southern District of Texas                 When                         Case number, if known
Debtor     Rotary Drilling Holdings IV, LLC                                        Relationship to you               Affiliate
District   Southern District of Texas                 When                         Case number, if known
Debtor     Tubular Repair, LLC                                                     Relationship to you               Affiliate
District   Southern District of Texas                 When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 5
                          Case 16-33433 Document 1 Filed in TXSB on 07/06/16 Page 6 of 11

                                                               United States Bankruptcy Court
                                                                         Southern District of Texas
 In re      Rotary Drilling Tools USA, LLC                                                                            Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Greg Harris                                                         A&B              2,250                                      shares
 13120 Morgan Lane
 Needville, TX 77461

 RDT Intermediate Holdco, LLC                                        A&B              72,617                                     shares
 5757 Woodway, Ste. 176
 Houston, TX 77057

 RDT Intermediate Holdco, LLC                                        D                40,000                                     shares
 5757 Woodway, Ste. 176
 Houston, TX 77057

 Sealy Morris                                                        A&B              12,883                                     shares
 273 Sugarberry Circle
 Houston, TX 77024

 Thein H. Aung                                                       A&B              2,250                                      shares
 16519 Canterra Circle
 Houston, TX 77095


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



 Date July 6, 2016                                                             Signature
                                                                                            Bryan M. Gaston

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Case 16-33433 Document 1 Filed in TXSB on 07/06/16 Page 7 of 11
        Case 16-33433 Document 1 Filed in TXSB on 07/06/16 Page 8 of 11



                                  EXHIBIT A

Please see attached.




NO:0026883/00002:184076v2
        Case 16-33433 Document 1 Filed in TXSB on 07/06/16 Page 9 of 11



                    RESOLUTION OF THE MANAGING MEMBER OF
                        ROTARY DRILLING TOOLS USA, LLC

                                  Effective as of June 30, 2016

       WHEREAS, RDT Intermediate Holdco LLC, a Delaware limited liability company
(“Intermediate Holdco”), as the Managing Member of Rotary Drilling Tools USA, LLC, a Texas
limited liability company (“RDT USA”), has evaluated the assets, liabilities and operating
performance of RDT USA and its wholly owned subsidiaries Tubular Repair, LLC, an
Oklahoma limited liability company (“Tubular”), Rotary Drilling Holdings IV, LLC, a Delaware
limited liability company (“Holdings IV”), and Pipe Coatings International, LLC, a Texas
limited liability company (“Pipe Coatings;” and together with Tubular and Holdings IV, the
“Subsidiaries”) (together RDT USA and the Subsidiaries are the “Company”), and has
commenced negotiations with the Company’s creditors concerning the Company’s balance sheet
and obligations;

       WHEREAS, various of the Company’s creditors have asserted claims against the
Company including without limitation by asserting breach of potential termination of critical
contracts;

       WHEREAS, if the Company’s creditors continue to further exercise their rights and
remedies, the Company’s ability to continue operating could be compromised, with a risk of
substantial loss of value for the Company and all of its stakeholders;

       WHEREAS, the Company has identified potential financial and strategic partners
(“Potential Partners”) that have expressed interest in entering into arrangements with the
Company that would potentially serve as the basis for restructuring;

        WHEREAS, Intermediate Holdco has decided it is in the best interest of each of RDT
USA, Tubular, Holdings IV and Pipe Coatings to file for Chapter 11 bankruptcy protection in
order to preserve their assets and value to permit the Company to continue negotiations with its
creditors and Potential Partners;

       NOW, THEREFORE, BE IT

        RESOLVED, that in the judgment of Intermediate Holdco as the Managing Member of
RDT USA, and in order to preserve the going concern value of the Company, it is in the best
interests of each of RDT USA, Tubular, Holdings IV and Pipe Coatings to file voluntary
petitions for relief pursuant to Chapter 11 of the Title 11 of the United States Code (a
“Bankruptcy Petition”) in the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”);

        RESOLVED, that Bryan M. Gaston, Chief Restructuring Officer, is authorized on behalf
of RDT USA to file a Bankruptcy Petition on behalf of RDT USA in the Bankruptcy Court, to
retain counsel in Texas or in such other jurisdiction as may be necessary to effectuate the
bankruptcy filing, to retain other professionals as RDT USA may need in connection with its
bankruptcy case, and to prepare and file such other petitions, schedules, motions, plans and other
documents as are necessary to bring RDT USA’s Chapter 11 proceeding to a conclusion;


NO:0026883/00002:184076v2
        Case 16-33433 Document 1 Filed in TXSB on 07/06/16 Page 10 of 11



        RESOLVED, that RDT USA is directed as sole member of each of the Subsidiaries to
take action as may be necessary to cause each of the Subsidiaries to file a Bankruptcy Petition in
the Bankruptcy Court, to retain counsel in Texas or in such other jurisdiction as may be
necessary to effectuate its bankruptcy filing, to retain other professionals as each of the
Subsidiaries may need in connection with its bankruptcy case, and to prepare and file such other
petitions, schedules, motions, plans and other documents as are necessary to bring its Chapter 11
proceeding to a conclusion;

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon
Bryan M. Gaston, Chief Restructuring Officer, such person and each of his designees and
delegates be, and hereby is, authorized and empowered, in the name of and on behalf of RDT
USA, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in
such person’s judgment, shall be necessary, advisable, or desirable in order to fully carry out the
intent and accomplish the purposes of the resolutions adopted herein, including, without
limitation, the execution and delivery of such resolutions and written consents as may be
necessary to authorize the sole member and sole manager of each of Tubular and Holdings IV,
and the sole member of each of Pipe Coatings to file a Bankruptcy Petition on behalf of RDT
USA, Tubular, Holdings IV and Pipe Coatings in the Bankruptcy Court, to retain counsel in
Texas or in such other jurisdiction as may be necessary to effectuate the bankruptcy filing, to
retain other professionals as RDT USA, Tubular, Holdings IV and Pipe Coatings, as applicable,
may need in connection with its bankruptcy case, and to prepare and file such other petitions,
schedules, motions, plans and other documents as are necessary to bring RDT USA’s, Tubular’s,
Holdings IV’s and Pipe Coatings’ Chapter 11 proceeding, as applicable, to a conclusion, in such
form as the person executing and delivering the same may in his or their sole and absolute
discretion approve, such approval to be conclusively evidenced by his or their execution and
delivery thereof; and

        RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing resolutions done in the name of and on behalf of RDT USA, which acts would
have been approved by the foregoing resolutions except that such acts were taken before the
adoption of these resolutions, are hereby in all respects approved and ratified as the true acts and
deeds of RDT USA with the same force and effect as if each such act, transaction, agreement, or
certificate has been specifically authorized in advance by resolution of the Managing Member.


                [Remainder of Page Intentionally Blank; Signature Page Follows]




NO:0026883/00002:184076v2
Case 16-33433 Document 1 Filed in TXSB on 07/06/16 Page 11 of 11
